Appellant, plaintiff herein, desires to serve theaters located in various towns and cities of the State by transporting films and theater supplies under express written contracts with their owners and operators. The commission found that the proposed operation would impair the efficient public service of certain authorized common and contract motor carriers now adequately serving the same territory. *Page 345 
Appellee says that in all fairness it must be conceded that the record in this case is rather meagre and fails to disclose certain facts which might be helpful in setting the question at rest. It is certain that the disputed field of business endeavor, that of the Saginaw-Bay City area, is both narrow and restricted. Appellant emphasizes these admissions, and argues that the finding of the commission amounts to a stifling of legitimate competition and urges that there are no facts in the record justifying a refusal of a license.
The first question is a matter for the determination of the legislature and not of the courts. As to the second, we do not weigh the evidence. A question of fact was presented to and determined by the commission. On review by certiorari this court has no power to substitute its judgment for that of the commission on issues of fact. Testimony was taken in support of appellant's application for a permit and in opposition thereto.
From a consideration of the record presented to us on this appeal, we cannot say that the commission's order denying the permit is without support either in the facts disclosed at the hearing or by an investigation of the commission. In reConsolidated Freight Co., 265 Mich. 340 (4 P. U. R. [N. S.] 397). Under this authority, such determination must be affirmed. It is so affirmed, without costs, there being no private parties appearing as appellees.
POTTER, C.J., and NELSON SHARPE, NORTH, FEAD, WIEST, BUTZEL, and EDWARD M. SHARPE, JJ., concurred. *Page 346 